                            IN THE UNITED STATES DISTRICT COURT
                            FOR THE NORTHERN DISTRICT OF IOWA
                                      EASTERN DIVISION


 EDDIE WORDLAW,
           Plaintiff,                                         Case No. 2:22-cv-01017

 vs.
                                                       AMENDED COMPLAINT FOR
 CITY OF DUBUQUE, IOWA,                              PRELIMINARY AND PERMANENT
            Defendant.                               INJUNCTIVE RELIEF, DAMAGES
                                                          (Amendments in Bold)

                                I. PRELIMINARY STATEMENT

       The Defendant, the City of Dubuque, administers a discriminatory Tenant Database that

disproportionately limits housing choice for Black persons like Plaintiff Eddie Wordlaw. The

administration of this database violates the Fair Housing Act of 1968, as amended by the Fair

Housing Amendments Act of 1988, 42 U.S.C. §§ 3601 et seq. Further, the City violated Wordlaw’s

due process rights by refusing to disclose the information reported about him in the Tenant

Database or allowing him to contest inaccurate information.

                                 II. JURISDICTION & VENUE

   1. This Court has jurisdiction over this action pursuant to 28 U.S.C. §§ 1331 and 1343 and 42

       U.S.C. § 3613. Appropriate declaratory relief is authorized by 28 U.S.C. §§ 2201 and 2202.

   2. In addition, the Court has jurisdiction over the civil rights claim arising under 42 U.S.C. §

       1983 and the Fourteenth Amendment to the United States Constitution pursuant to 28

       U.S.C. §§ 1331 and 1343.

   3. Venue is proper in the Northern District of Iowa because the events giving rise to this action

       occurred in this judicial district.




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                                        III. PARTIES

   4. Plaintiff Eddie Wordlaw (“Wordlaw”) is a natural person who resides in Iowa.

   5. Defendant City of Dubuque is a municipal corporation within Dubuque County, Iowa.

                                         IV. FACTS

A. The Department of Housing and Urban Development (HUD) determined in 2013 that
   Defendant had implemented housing policies that, while facially neutral, had the effect
   of and were intended to discriminate against Black persons based on race

   6. On June 20-24, 2011, HUD’s Office of Fair Housing and Equal Opportunity (FHEO)

      completed a civil rights related program review for possible civil rights violations in the

      City of Dubuque’s Housing and Community Development Department (HCDD).

   7. According to FHEO, “Dubuque operates as a Manager-Council government, and the City

      Manager exerts great control over City operations as the head professional administrator.”

      Letter of Findings of Noncompliance at 1, https://nlihc.org/sites/default/files/Dubuque-

      LOF.pdf (last visited July 20, 2022). Mike Van Milligan has been Dubuque’s City Manager

      since 1993, and is currently the City Manager of Dubuque.

   8. At the time of the review, the HCDD director was David Harris. Director Harris was

      supervised by and reported to the City Manager.

   9. In 2007, HCDD changed the way it implemented residency preference points for its

      housing choice voucher program. Under the new policy, residents were awarded residency

      preference points on a cumulative basis whereby applicants received 30 points if they lived

      in the City of Dubuque, 20 points if they lived in Dubuque County, and 15 points if they

      lived in the State of Iowa. According to FHEO, “after the implementation of the residency

      preference point allotment, African American participation in the program substantially

      declined.” Id. at 6.



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10. During the summer of 2009, two high profile murders involving African American

   perpetrators occurred in Dubuque. FHEO’s investigation concluded that “public perception

   was that violent crime had increased throughout the general community” and that this

   increase was due to “newcomers from Chicago” who were “predominantly African

   American.” Id. at 7. In response to this public perception, the City created a Safe

   Community Task Force, ordered studies to be conducted on crime and poverty, and began

   implementing policy changes to the housing choice voucher program. Id.

11. In late November-early December of 2009, the City Manager ordered Director Harris to

   eliminate the very low income preference point allotment. According to FHEO, “by

   removing the allotment, the City eliminated an avenue via which families from Chicago

   would qualify for the program’s waitlist.” Id. at 7. FHEO determined that had this

   preference allotment been kept in place, individuals from outside Iowa, who were

   disproportionately Black, would have still been eligible for the voucher program.

   “Elimination of this allotment effectively allowed only those applicants from out of state

   that qualified for a disabled or elderly preference point allotment to qualify for the program,

   significantly reducing the number of African Americans who would be eligible for the wait

   list.” Id. FHEO noted that an internal memorandum indicated that the intent in making

   these changes was “to address the community’s perceptions on crime” and that “HCDD

   and City staff were aware that the families applying from out of state were primarily from

   Chicago and predominantly African American.” Id. at 8.

12. In December of 2009, the City Manager instructed Director Harris to cease issuing

   vouchers with the intent of shrinking the size of the voucher program from 1,076 families

   to 900 families in the City of Dubuque. The City Manager asserted that this reduction was



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   “a result of the City’s inability to administer the program effectively.” Id. FHEO noted that

   their review “failed to find evidence to substantiate this assertion.” Id. Additionally, the

   assertion was belied by the fact that the City chose to conduct “extensive crime studies"

   and made “payments to the moderators of the Safe Community Task Force meetings,”

   which could have been used for an additional caseworker if administration of the voucher

   program was really a concern. Id.

13. FHEO completed their investigation and issued a Letter of Noncompliance to Defendant

   on June 17, 2013. The Letter of Noncompliance concluded:

           Based on the evidence obtained during the on-site review, the Department
           has determined that Dubuque is not in compliance with Title VI, as the City
           discriminated on the ground of race in the administration of its Section 8
           program. Specifically, the Department’s review found that Dubuque
           discriminated against African Americans based on race, by implementing
           admission policy changes that had the effect of hindering the ability of
           African Americans to obtain vouchers and relocate to Dubuque…There is
           evidence also that the City of Dubuque intended to exclude persons from
           participation in its Section 8 program, deny benefits, and otherwise
           discriminate on the ground of race.
   Id. at 5.
14. Defendant entered into a Voluntary Compliance Agreement (VCA) with FHEO, in which

   it agreed to make extensive changes to its HCDD Administrative Plan, submit to additional

   oversight and record-keeping requirements with HUD, and for specified city staff to attend

   Fair Housing Training on an annual basis. The VCA was in effect from 2014 until 2021.




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B. Defendant’s Tenant Database

   15. In or around September 2011, while under investigation with FHEO, Defendant began

      implementation of a Tenant Database. According to Defendant’s website, the Tenant

      Database “contains information compiled from landlords owning rental property in the City

      of Dubuque, property management companies managing property in the City of Dubuque,

      and       Iowa         District     Court       Records.”        Landlord       Services,

      https://www.cityofdubuque.org/1599/LandlordServices#:~:text=Tenant%20Database&te

      xt=This%20can%20be%20done%20electronically,it%20will%20remain%20on%20file

      (last visited July 20, 2022).

   16. The Tenant Database includes information such as the rental address, starting and ending

      dates of the tenancy, whether rent was ever late, whether an eviction was ever filed, the

      amount of the security deposit and whether the tenant’s deposit was returned. Landlords

      can also provide general comments on the individual’s tenancy.

   17. On December 11, 2011, City of Dubuque staff Crenna Brumwell and Director Harris gave

      a presentation to the Safe Community Task Force about the new Tenant Database.

      According to the minutes of the meeting, staff explained that under the Tenant Database

      “landlords can choose to provide factual and verifiable information to [the] City,” and

      “[t]enants [are] also permitted to dispute what’s on the database.” Dubuque City Council

      January 17, 2012 Agenda, at 74, https://cityofdubuque.novusagenda.com/AgendaPublic/

      (last visited July 20, 2022).

   18. Landlords use the Tenant Database to make decisions about whether to provide housing to

      a prospective tenant and are encouraged to do so by Defendant.

   19. The Tenant Database is administered and maintained by the Dubuque Police Department.



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      According to the City of Dubuque’s website, “[l]andlords who would like to participate in

      submitting information to this database may fill out a Tenant Database Submission Form

      and submit it to the Dubuque Police Department Records Division.” Id. Landlords that

      wish to submit information to the Tenant Database are required to sign a Tenant Database

      Access Agreement (“the Agreement”) with Defendant. The Agreement provides that

      “[n]either the City of Dubuque; its employees; or officers, collectively or individually;

      assumes any legal liability or responsibility for the accuracy, completeness, or usefulness

      of any information or process disclosed.” Tenant Database Access Agreement and

      Participant      Release,      Waiver          and   Hold        Harmless      Agreement,

      https://www.cityofdubuque.org/DocumentCenter/View/3448/Tenant-Database-

      Release?bidId= (last visited July 20, 2022).

   20. Between 2011 and 2020, landlords made 713 submissions to the Tenant Database. None

      of these landlord submissions were ever rejected by Defendant.

C. Defendant Refused to Provide Eddie Wordlaw With Information Reported on their
   Tenant Database or to Contest this Information

   21. Eddie Wordlaw is Black.

   22. In 2020, Wordlaw was searching for an affordable rental unit to accommodate himself and

      his six children. During his rental search, one prospective landlord told Wordlaw that they

      would not rent to him because he was on “the database.” Wordlaw previously rented an

      apartment from Gronen Properties with his significant other, Loucinder Murray.

      Wordlaw contacted Gronen Properties, who advised him that they had placed him on

      the City of Dubuque’s Tenant Database, and that he would never be able to find

      housing in Dubuque so long as he remained on the Tenant Database.




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   23. On July 20, 2020, Wordlaw contacted the Dubuque Police Department and requested a

      copy of the information that they were reporting about him on the Tenant Database.

   24. The Dubuque Police Department refused to provide any information to Wordlaw. On July

      23, 2020, the Dubuque Police Department further told him that he was not permitted to

      contest any information on the Tenant Database, and that ultimately if he disagreed with

      any of the information on the Tenant Database – which he was not allowed to access – then

      his only remedy was to sue his former landlord.

   25. Upon belief, Defendant has never provided any tenant with information reported about

      them on the Tenant Database.

D. The Information the Defendant Reported About Wordlaw on Their Tenant Database
   Was Inaccurate

   26. As stated above, Wordlaw previously rented an apartment from Gronen Properties with his

      significant other, Loucinder Murray. The Tenant Database entry submitted by Gronen

      Properties about Wordlaw states: “Tenant owes us a total of $3,444.26 for damages,

      cleaning, paint, and carpet replacement.”

   27. In fact, while Gronen Properties did file a lawsuit against Wordlaw, the case against him

      was dismissed because he was never served. See Dubuque County Case No. SCSC089428.

      Wordlaw has asked Gronen Properties to remove his name from the Tenant Database, but

      they are refusing to do so unless he pays $3,444.26.

   28. As a result of the Defendant’s actions, Wordlaw suffered loss of a housing opportunity,

      emotional distress, humiliation, embarrassment, and damage to reputation.

   29. Wordlaw has continued to search for an affordable rental unit in Dubuque to accommodate

      himself and his six children, but he has been unsuccessful. He has been deterred and




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      chilled from seeking out additional housing opportunities due to his unchallengable

      inclusion on Dubuque’s Tenant Database.

   30. Wordlaw’s inclusion on Dubuque’s Tenant Database continues to frustrate his ability

      to find suitable housing in Dubuque.

E. Defendant’s Tenant Database Has an Unlawful Disparate Impact on the Basis of Race

   31. A facially neutral policy or practice that has a disparate impact based on race or

      national origin violates the Fair Housing Act unless it is necessary to satisfy a substantial,

      legitimate, non-discriminatory business interest and there is no less discriminatory

      alternative that would achieve that interest.

   32. As set forth below, Defendant’s Tenant Database has an unjustified disproportionate

      adverse impact on Black persons in violation of the Fair Housing Act. Defendant’s one-

      sided and highly unusual Tenant Database is not necessary to achieve a legitimate interest

      because it does not have any safeguards in place to ensure the accuracy of the information

      contained in the Tenant Database.

   33. According to 2019 census data Dubuque’s Black population was 5.2% when Wordlaw tried

      to access the Tenant Database. https://www.census.gov/quickfacts/dubuquecityiowa (last

      visited July 20, 2022). Dubuque’s Black renter population in 2019 was 9.2%.

      https://data.census.gov/cedsci/table?q=renter-

      occupied%20in%20dubuque%20iowa&tid=ACSST5Y2020.S2502                          (last    visited

      September 30, 2022).

   34. Black persons are overrepresented on the Tenant Database when compared to 2019 City of

      Dubuque Census data. Upon belief, Black tenants are overrepresented on the Tenant




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      Database compared to Dubuque’s population as a whole by 14.0%. White tenants, by

      contrast, are underrepresented on the Tenant Database by 52.9%.

   35. Upon belief, Black tenants are overrepresented on the Tenant Database compared to

      Dubuque’s tenant population by 10.0%, and white tenants are underrepresented by

      49.1%.

   36. In addition to being overrepresented on the Tenant Database, Black persons receive more

      negative comments and fewer positive or neutral comments from landlords than white

      persons on the database.

   37. The fact that Black tenants are overrepresented on the Tenant Database and are

      significantly more likely to receive negative comments demonstrates that the Tenant

      Database has a strong disproportionate impact that limits housing choice for Black people in

      the City of Dubuque.

   38. Defendant asserts that the Tenant Database will make neighborhoods safe, ensure rental

      properties are maintained, and hold tenants accountable. Protecting resident safety may be

      a legitimate interest, but not if Defendant fails to utilize any safeguards to ensure that the

      information contained in the Tenant Database is accurate.

F. Defendant’s Tenant Database Constitutes Intentional Discrimination in Violation of the
   Fair Housing Act

   39. Wordlaw, through counsel, sent a letter to the Defendant on April 6, 2021 apprising them

      that the Tenant Database had a discriminatory impact on Black persons and lacked

      procedural safeguards, but the Defendant refused to adequately address these concerns.

   40. The strong discriminatory effect of the Tenant Database against Black persons, FHEO’s

      determination that Defendant was intentionally discriminating against Black persons

      contemporaneously with when the Tenant Database was first adopted, and Defendant’s


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   refusal to implement procedural safeguards to ensure the information on the Tenant

   Database is accurate, are all factors that indicate a discriminatory intent on the part of

   Defendant.

                           COUNT I: FAIR HOUSING ACT
41. Defendant’s Tenant Database has a disproportionate adverse impact on Black persons as

   compared to similarly situated white persons. The Tenant Database fails to achieve any

   substantial, legitimate non-discriminatory interest if Defendant does not have any

   procedural safeguards in place to ensure that the information contained in the Tenant

   Database is accurate.

42. Defendant’s policies and practices constitute unlawful discrimination in violation of the

   Fair Housing Act, 42 U.S.C. § 3604, by making housing unavailable on the basis of race

   in violation of 42 U.S.C. § 3604(a).

43. As a result of Defendant’s discriminatory conduct, Wordlaw has suffered damages and is

   entitled to relief pursuant to 42 U.S.C. § 3613.

44. Defendants’ discriminatory conduct was intentional, willful, reckless, deliberately

   indifferent to, and/or otherwise taken in disregard for the rights of Wordlaw.



             COUNT II: 42 U.S.C. § 1983 – DUE PROCESS VIOLATIONS
45. The operation and maintenance of the Tenant Database by the City constitutes state action

   under color of law for the purposes of 42 U.S.C. § 1983.

46. In general, to determine whether the basic requirements of due process have been met, a

   court must weigh:

       a. the private interest that will be affected by the official action;




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       b. the risk of an erroneous deprivation of such interest through the procedures used,

           and probable value, if any, of additional procedural safeguards; and

       c. the Government's interest, including the fiscal and administrative burdens that the

           additional or substitute procedures would entail.

   Matthews v. Eldridge, 424 U.S. 319, 335 (1976).

47. The City has the following customs or policies which violate procedural due process:

       a. Failing to provide notice that information has been provided about them on the

           Tenant Database;

       b. Denying tenants access to see what has been written about them on the Tenant

           Database;

       c. Failing to implement procedures of any kind which would allow a tenant to

           challenge incorrect, misleading, or incomplete information on the Tenant Database.

48. Wordlaw has a fundamental liberty interest in his reputation in general, especially but not

   limited to the impact of the commentary in the database on his ability to secure and

   maintain safe and affordable housing.

49. Wordlaw’s interest in his reputation combined with his tangible need for decent and

   affordable housing for himself and his children also establishes a cognizable property

   interest.

50. The City’s procedures provide no protection against erroneous deprivation of this interest.

51. The City’s operation and maintenance of the Tenant Database is not an essential

   governmental function, and upon information and belief such a program is highly unusual

   across the state and the nation as a whole. The Tenant Database itself serves no purpose

   other than to make it more difficult for some tenants to find housing. Cessation of the



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operation of the Tenant Database would not pose any significant administrative burden on

the City, and would in fact reduce any such burden that currently exists.

                             RELIEF REQUESTED
Wherefore, Plaintiff requests this honorable Court provide the following relief:

       a. Declaring Defendant’s actions violate the Fair Housing Act and Due Process;

       b. Granting a temporary restraining order and a preliminary and permanent

           injunction enjoining Defendant from administering the Tenant Database;

       c. Awarding Plaintiff such damages as would fully compensate him for his

           injuries caused by Defendant’s discriminatory housing practices and violation

           of due process of law, or in the alternative, award him nominal damages for

           Defendant’s violations of the Fair Housing Act and Due Process;

       d. Awarding punitive damages in an amount that would punish Defendant for the

           willful, wanton, and reckless conduct alleged herein and that would effectively

           deter similar conduct in the future;

       e. Awarding reasonable attorneys’ fees and costs under 42 U.S.C. § 3613(c) and

           42 U.S.C. § 1988;

       f. All other remedies equitable and just as the court may deem appropriate.




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                                              Respectfully Submitted,


                                              /s/ Todd Schmidt
                                              Todd Schmidt
                                              Attorney for Plaintiff
                                              IOWA LEGAL AID
                                              744 Main Street; Suite 1
                                              Dubuque, IA 52001-6825
                                              TEL: (563) 588-4653
                                              EMAIL: tschmidt@iowalaw.org


                                              /s/ Alex Kornya
                                              Alexander Vincent Kornya
                                              Attorney for Plaintiff
                                              IOWA LEGAL AID
                                              1111 9th Street; Suite 230
                                              Des Moines, IA 50314
                                              TEL: (515) 243-1193
                                              EMAIL: akornya@iowalaw.org


                                CERTIFICATE OF SERVICE
        I certify that on this October 13, 2022 the foregoing was filed with the Clerk of the Court
using the CM/ECF system, which will send notice of such filing to the attorneys of record.

                                                     /s/ Todd Schmidt
                                                     Todd Schmidt




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